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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOURTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
KAO LEE YANG, INDIVIDUALLY, AND                          §
OBO, S.V. & T. V., MINORS;                               §
      Plaintiffs,                                        §
                                                         §
VS.                                                      §     Civil Action No. 4:18-CV-161
                                                         §
TEICHMAN GROUP, LLC., et al.,                            §
     Defendants.                                         §

                  PLAINTIFF MARCUS WILSON’S OPPOSED
        MOTION FOR STAY OF TRIAL PENDING INTERLOCUTORY APPEAL

        Plaintiff Marcus Wilson requests that the Court stay the October 23, 2018 trial date

pending the Fifth Circuit’s disposition of Wilson’s interlocutory appeal of the Court’s anti-suit

injunction prohibiting him from proceeding in his state-court case against T&T Offshore, Inc.1

I.      Background

        In this case, Wilson has sued Defendants T&T Marine, Inc. (“T&T Marine”) and the

Teichman Group, LLC (the “Teichman Group”). Wilson has not sued T&T Offshore, Inc.

(“T&T Offshore”) in this lawsuit.

        In the state-court case, Wilson has sued T&T Offshore.2 Wilson has not sued either T&T

Marine or the Teichman Group in the state-court case.

        As this case is currently situated, Wilson’s claims against T&T Marine and the Teichman

Group are set for trial in this Court on October 23, 2018. 3 Wilson’s claims against T&T

Offshore are not pending in this Court, so they will not be tried on October 23, 2018.


1
  Doc. 71 (August 9, 2018) (Order Setting Trial); Doc. 76 (August 10, 2018) (Order Granting Preliminary
Injunction); Doc. 79 (August 15, 2018) (Wilson’s Notice of Appeal); Wilson v. T&T Offshore, Inc., No. 2018-04606
(190th Dist. Ct. of Harris Cty, Tex.); see FED. R. APP. P. 8(a)(1).
2
 Wilson also sued WL Crane Repair, Inc. in the state-court case. Wilson has not sued WL Crane Repair, Inc. in this
case.
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           Wilson no longer wishes to pursue his claims against T&T Marine and the Teichman

Group. Wilson has filed a motion to voluntarily dismiss T&T Marine and the Teichman Group,

which this Court has not yet ruled on.4 T&T Marine admits that it is not a proper party to this

lawsuit and that the proper defendant is T&T Offshore.5

II.        This Court should stay the trial until the Fifth Circuit decides Wilson’s
           interlocutory appeal

           The Supreme Court has held that federal district courts have the inherent power to stay

proceedings based on the “economy of time and effort for itself, for counsel, and for litigants.”6

In deciding whether to grant a stay, federal district courts consider (1) the potential prejudice to

the nonmoving party from a brief stay; (2) the hardship and inequity to the moving party if the

action is not stayed; and (3) the judicial resources that would be saved by avoiding duplicative

litigation.7 Those factors weigh in favor of staying the trial until after the interlocutory appeal is

decided.

           It is unlikely that the Fifth Circuit will have decided Wilson’s appeal before the October

23, 2018 trial date. If the Fifth Circuit were to affirm this Court’s anti-suit injunction, Wilson

would add his claims against T&T Offshore to this lawsuit. But Wilson will not do that unless—

and until—the Fifth Circuit were to affirm. If the Fifth Circuit reverses this Court’s anti-suit

injunction, Wilson will continue to prosecute his claims against T&T Offshore in state court.




3
    Doc. 71 (August 9, 2018) (Order Setting Trial).
4
 Doc. 68 (August 8, 2018) (Wilson’s Motion to Voluntarily Dismiss Defendants T&T Marine and the Teichman
Group); Doc. 85 (August 29, 2018) (T&T Marine (incorrectly identified as T&T Offshore) and the Teichman
Group’s Response to Wilson’s Motion to Voluntarily Dismiss).
5
  Doc. 36-5 (April 18, 2018) (Exhibit to Wilson’s Response to Defendants’ Motion to Enjoin State Court
Proceedings).
6
    Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); United States v. Rainey, 757 F.3d 234, 241 (5th Cir. 2014) (same).
7
    Nguyen v. BP Exploration & Prod., Inc., No. H-10-2484, 2010 WL 3169316, at *1 (S.D. Tex. Aug. 9, 2010).

                                                           2
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        T&T Marine and the Teichman Group will not be prejudiced by staying the trial until the

interlocutory appeal is decided. Depending on how the appeal is decided, it is possible that they

will be dismissed and no trial against them will be necessary. So the stay would benefit, rather

than prejudice T&T Marine and the Teichman Group.

        It would be a waste of this Court’s and the parties’ resources to require Wilson to try his

claims against T&T Marine and the Teichman Group—defendants he no longer wishes to pursue

claims against—while T&T Offshore’s status is still undecided. The better approach is to stay

the trial until the Fifth Circuit has ruled on Wilson’s interlocutory appeal.

        The factors, therefore, weigh in favor of staying the trial until after the interlocutory

appeal is decided.

III.    Conclusion

        Wilson requests that this Court stay the October 23, 2018 trial setting until after the Fifth

Circuit has decided the interlocutory appeal.

                                       Respectfully submitted,

                                       /s/ Anthony G. Buzbee
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                                 CERTIFICATE OF SERVICE

         This is to certify that a true copy of the foregoing instrument was served electronically on
all attorneys of record on September 10, 2018, through the Court’s ECF system.

                                              /s/ Christopher J. Leavitt
                                              Christopher J. Leavitt




                              CERTIFICATE OF CONFERENCE

        I hereby certify that on September 7, 2018, I conferred with counsel for Defendants T&T
Marine, Inc. and the Teichman Group, LLC. They oppose the Court granting the relief requested
in this motion. Cheramie is not opposed to the relief, although it is not a party to this case.

                                              /s/ Christopher J. Leavitt
                                              Christopher J. Leavitt




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